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UNITED STATES DISTRICT COURT
FOR THE

WESTERN DISTRICT OF TENNESSEE

 

ORDER OF PRODUCTION
NO, 1 :04-10043-01-T

USAv. Christopher Shawn Terry
A]) Prosequendum

FOR: Re-Sentencing
TO: USl\/l, Westem District of TN

Warden, Big sandy USP
1197 Airport Road, Inez, KY AlZZA

YOU ARE HEREBY COMMA`NDED to have the person of

Christopher Shaw~n Terry , lomate # 18734-076

by you restrained of his/her liberty, as it is said, by Whatsoever names detained, together With the
day and cause of his being taken and detained, before the Honorable J ames D. Todd, U. S.
District Court Judge, for the Western District of Tennessee, at the room of said Court, in the City

of Jackson, Tennessee, at 3=3O a.m. on the 12th day of Augllst , 20 05

 

then and there to do, submit to, and receive Whatsoever the said Judge shall then and there
determine in that behalf; and have you then and there this Writ', further, to hold him in federal

custody until disposition of this case and to produce him for such other appearances as this court

may direct. 0 441 Qwvt
ENTERED THIS DAY OF U , 200 § .
r/V)~&/ b ' QV`M
JAM DD

UNITE ATES DISTRICT IUDGE

This document entered on the docket sheet in compliance
with F|ule 55 and/or 32{b) FHCrP on

DISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 16 in
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Honorable J ames Todd
US DISTRICT COURT

